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 HDM/GN/JRS/PC/MC
 F. #2016R00467

 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 – – – – – – – – – – – – – – – – – –X

  UNITED STATES OF AMERICA

        - against -                              Docket No. 18-CR-681 (NGG)

  MANUEL CHANG,
      also known as “Pantero,”
      “Chopstick,” and “Kung Fu”

                         Defendant.

  – – – – – – – – – – – – – – – – – –X



                      THE GOVERNMENT’S SENTENCING MEMORANDUM



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                                 PRELIMINARY STATEMENT

                Over the course of a four-week trial, the government proved beyond a reasonable

 doubt that the defendant, the former Minister of Finance of Mozambique, conspired to commit

 wire fraud and conspired to commit money laundering. The defendant, along with his co-

 conspirators, approved and guaranteed $2 billion in loans to state-owned entities in Mozambique.

 He did so because of greed: because Privinvest paid him at least $7 million dollars. In return, the

 defendant and his co-conspirators lied to banks and outside investors around the world, including

 here in the United States, and then laundered the money using the international banking system.

 The defendant and his co-conspirators used U.S. wires, U.S. correspondent banks, and U.S.

 investors to perpetrate this massive fraud and money laundering scheme. In sum, the defendant,

 a corrupt public official, placed his own country, one of limited means and resources, on the

 hook for $2 billion in loans it ultimately could not pay, so that he and his criminal partners could

 pocket tens of millions of dollars for themselves.

                Given the magnitude of the fraud and the defendant’s conduct here, the Court

 should impose a meaningful punishment. For his crimes, the defendant faces a Guidelines range

 of 135-168 months’ imprisonment. This range appropriately reflects the serious nature of his

 extensive, deceptive and deliberate criminal conduct. Accordingly, the Court should reject the

 defendant’s extraordinary request to avoid meaningful punishment, and impose a sentence within

 this Guidelines range.
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 I.     RELEVANT BACKGROUND1

                  On August 8, 2024, following trial, the defendant was convicted of both counts in

 the Third Superseding Indictment: wire fraud conspiracy (Count One) and money laundering

 conspiracy (Count Two). (See generally ECF No. 732.)

                  The trial evidence supporting the defendant’s convictions has been set forth in great

 detail in the government’s post-trial opposition to the defendant’s Rule 29 and 33 motions. (See

 ECF No. 747 (“Gov’t Post Trial Br.”).) The government incorporates its prior recitation of the

 facts and trial evidence herein.

 II.    THE APPLICABLE GUIDELINES TERM OF IMPRISONMENT IS 135-168
        MONTHS

                  On October 28, 2024, the U.S. Probation Department (“Probation”) issued a

 Presentence Report (“PSR”), setting forth its Guidelines calculations for the defendant. The PSR

 calculated the defendant’s total offense level as 42 and the defendant’s criminal history category

 as I. (PSR, ¶ 38-42.) As such, Probation calculated the defendant’s applicable Guidelines to be

 360 months’ to life imprisonment. (Id. ¶ 89.) In determining this range, Probation applied

 U.S.S.G. § 2C1.1 as a starting point to calculate the base offense level under U.S.S.G.

 § 2S1.1(a)(1).

                  On November 6, 2024, the defendant filed lengthy objections to almost all of the

 PSR. (Def. PSR Obj.) Although the defendant agrees that U.S.S.G. § 2S1.1(a)(1) applies to the



        1
          Many of the relevant facts are also set forth in the PSR, at ¶¶ 1-25. The defendant has
 objected to certain of these facts in his objections to the PSR, which were provided to the
 Probation Department (“Probation”) on November 6, 2024 (see ECF No. 752, “Def. PSR Obj.”).
 The government has submitted its response along with its sentencing submission, and now
 incorporates its responses to defense objections to these facts by reference here (“Gov’t PSR
 Response”).
                                                    2
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 grouped convictions, the defendant argues that U.S.S.G. § 2B1.1 should be used to calculate the

 underlying base offense level, instead of U.S.S.G. § 2C1.1. However, the defendant disputes the

 applicability of any offense- or role-based enhancements, and, therefore, contends that his base

 offense level is 7. Specifically, despite the trial record and witness testimony to the contrary, the

 defendant maintains that there were “no losses and no victims” left in the wake of his $2 billion

 wire fraud conspiracy involving tens of millions of dollars of bribes and kickbacks, precluding

 the application of any loss-related enhancements under U.S.S.G. § 2B1.1(b)(1).” (Def.

 Sentencing Br., 4-5.) Moreover, the defendant argues that despite the centrality of the loan

 guarantees to the execution of the wire fraud scheme, he deserves a 2-level reduction for being a

 “minor participant” in the fraud. (Id. at 8-11.) Furthermore, he argues that the 2-level

 enhancement for abuse of a position of public trust enhancement does not apply to him,

 notwithstanding his acceptance of millions of dollars in bribes in exchange for signing the loan

 guarantees in his official capacity of Minister of Finance of Mozambique. (Id. at 11-12.) In

 short, the defendant relies on contorted, baseless arguments to artificially decrease his total

 offense level to 5, which, combined with his placement in criminal history category I, yield a

 Guidelines range of 0-6 months’ imprisonment. (See id. at 12; see also Def. PSR Obj., at 13-14.)

                For the reasons set forth in the government’s response to the defendant’s

 objections — which was submitted concurrently with this submission — unless otherwise noted,

 the government respectfully submits that the defendant’s arguments are meritless. The

 defendant’s Guidelines calculations plainly ignores key trial evidence in an effort to minimize

 his exposure and culpability.

                As explained below, the government respectfully submits that the defendant’s

 total offense level is 33, which, combined with his undisputed placement in criminal history
                                                   3
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 category I, yields a Guidelines range of 135-168 months’ imprisonment. The government

 submits that a sentence within this Guidelines range is sufficient but not greater than necessary to

 achieve the objectives of 18 U.S.C. § 3553(a).

                1.      The Government Does Not Object to Using U.S.S.G. §2B1.1 to Calculate
                        the Base Offense Level

                The government submits that using the wire fraud guidelines under § 2B1.1 is

 appropriate.2 However, the government disagrees with the defendant’s calculations under

 U.S.S.G. § 2S1.1 and § 2B1.1. For the reasons set forth, the government respectfully submits

 that the appropriate Guidelines calculation for the defendant’s grouped convictions is as follows:




        2
          § 2B1.1 is the appropriate guideline for multiple reasons. First, the defendant was
 convicted of wire fraud in Count One for his knowing participation in a scheme to make false
 and misleading statements in connection with procuring over $2 billion in loans. Wire fraud, of
 course, generally corresponds to Guidelines calculations under § 2B1.1. In addition to Chang
 and his co-conspirator’s undisclosed receipt of bribes and kickbacks, the government proved that
 the scheme also involved lying to investors about the use of the proceeds of the loans. This wire
 fraud scheme was one of the two specified unlawful activities underpinning the defendant’s
 conviction on Count Two. Application of the fraud Guidelines to this scheme is therefore
 appropriate.

                 Second, application of the fraud Guidelines is consistent with recent prosecutions
 against foreign officials (or their close relatives) who were convicted of money laundering with
 specified unlawful activities of foreign bribery laws. See, e.g., United States v. Martinelli, et al.,
 No. 21-CR-65 (KAM) (E.D.N.Y.), ECF No. 56 (government’s sentencing submission
 recognizing the parties’ stipulated Guidelines range that a foreign law specified unlawful activity
 does not correspond to a U.S. offense for purposes of calculating the offense level under
 § 2S1.1(a)(2), which was adopted by the Court at sentencing); see also United States v. Carlos
 Polit, No. 22-CR-20114 (KW) (S.D. Fla.), ECF No. 238 (government’s response to PSR
 objections setting base offense level as 8 for money laundering convictions predicated on
 violations of Ecuadorean bribery law, which was later adopted by the Court). The government
 had provided an initial Guidelines calculation to Probation that had referenced § 2C1.1. but upon
 further review of the government’s position in prior cases, the government submits that § 2C1.1.
 should not be used here.
                                                     4
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        Group 1 (Counts 1 and 2)3

                  Base Offense Level (§ 2S1.1(a)(1)4; §2B1.1)                               29

                         Base Offense Level                                       7
                         Plus: More than $3,500,000 in Gain (§2B1.1(b)(1)(J))    +18
                         Plus: Ten or More Victims (§2B1.1(b)(2)(A))             +2
                         Plus: Sophisticated Means/Fraud Committed
                               Outside U.S. (§2B1.1(b)(10))                      +2

                  Plus: Conviction Under 18 U.S.C. § 1956 (§ 2S1.1(b)(2)(B))5                +2

                  Plus: Sophisticated Laundering (§ 2S1.1(b)(2)(B))                          +2

                  Plus: Abuse of Position of Trust (§ 3B1.3)                                  +2

                  Less: Zero-Point Offender Reduction (§ 4C1.1)6                              -2

                  Total Offense Level:                                                        33

 Given that the defendant falls into Criminal History Category I, the applicable Guidelines range

 in this scenario would be 135-168 months (approximately 11 ¼ to 14 years). Thus, the sentence




        3
           The statutorily authorized maximum sentences for Count One and Two are 20 years
 each. (See id. ¶ 88). The parties agree that pursuant to U.S.S.G §3D1.2(c), Counts 1 and 2 are
 grouped because “the defendant is convicted of a count of laundering funds and a count for the
 underlying offense from which the laundered funds were derived.” See Application Note 6 to
 §2S1.1 (“In a case in which the defendant is convicted of a count of laundering funds and a count
 for the underlying offense from which the laundered funds were derived, the counts shall be
 grouped pursuant to subsection (c) of §3D1.2 (Groups of Closely-Related Counts).”). Moreover,
 “[w]hen counts are grouped pursuant to §3D1.2(a)–(c) [as is the case here], the highest offense
 level of the counts in the group is used.” U.S.S.G. §3D1.3 (Application Note 2).
        4
          It is undisputed that the applicable guidelines to the grouped convictions is U.S.S.G
 §2S1.1, and that U.S.S.G §2S1.1(a)(1) applies here because the base offense level for the
 underlying offense can be determined. (See Def. Obj. at p.10.)
        5
            Neither party disputes the application of this enhancement.

        6
            Neither party disputes the application of this enhancement.

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 that the government seeks in this case is within this Guidelines range. Because this Guidelines

 range is in Zone D of the Sentencing Table, the Guidelines “do not authorize a sentence of

 probation.” U.S.S.G. § 5B1.1 cmt. 2; see also U.S.S.G. § 5C1.1(f) (“If the applicable guidelines

 range is in Zone D of the Sentencing Table, the minimum term shall be satisfied by a sentence of

 imprisonment.”).

                2.      The Court Should Adopt the Government’s Wire Fraud Calculations

                Contrary to the defendant’s arguments, each of the above-referenced wire fraud

 enhancements apply in this case.

                First, the Court should reject the notion that there were “no losses” and “no

 victims” in this case. (See Def. Sentencing Br., 4-6.) This was a massive scheme that sought to,

 and did in fact, defraud investors of hundreds of millions of dollars. Indeed, the jury heard

 evidence at trial that when Proindicus, EMATUM and MAM ultimately defaulted, victim-

 investors suffered significant losses, including for their clients: VTB Capital alone lost hundreds

 of millions of dollars in their investments in all three projects (GX 313); Alliance Bernstein lost

 approximately $22 million on behalf of its fund investors in EMATUM (GX 610, 610A); and

 NWI lost approximately $3 million on behalf of its fund investors (Tr. 1810-11). The jury also

 heard evidence that the investors would not have invested had they known the truth — that

 Privinvest was paying millions of dollars in bribes and the defendant had accepted $7 million in

 bribes in connection with the projects.7 The jury also saw evidence that the victim-investors



        7
          As set forth in the government’s post-trial motion, the government proved that victims
 were defrauded by the defendant’s scheme. Leemhuis, Kaplan and Santamaria all testified that
 they were either based in New York or had locations in New York and that they relied on the
 anti-corruption and bribery misrepresentations in the contract to invest in one or more of the
 projects. See Tr. 982-93 (Leemhuis); Tr. 1792, 1799-1807 (Kaplan); Tr. 1182, 1189-1200
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 were institutional investors who were investing their clients’ money in the loan products. See,

 e.g., GX 3213-B (record demonstrating that VTB Capital invested about $82 million for at least

 seven U.S. based investors in EMATUM); GX 610 (record demonstrating that Alliance

 Bernstein invested for at least four retirement/pension plans).

                Nonetheless, the government agrees that determining a reasonable loss amount in

 this matter would be complex and difficult in this case due to, among other reasons, the number

 of victims, the complexity of the financial instruments, and the number of civil litigations and

 settlements pertaining to these project loans since the fraud was discovered. That, however, does

 not mean that there is no mechanism to calculate loss, or that the defendant should unjustly

 benefit from the complexity of calculating the loss he caused. Indeed, U.S.S.G. § 2B1.1,

 Application Note 3(B) specifically permits the Court to “use the gain that resulted from the

 offense as an alternative measure of loss only if there is a loss but it reasonably cannot be

 determined.” Here, the defendant’s gain from the offense was proven at trial. The government

 proved that Privinvest paid $7,000,000 to the defendant for signing the Proindicus and

 EMATUM guarantees (see Gov’t Post Trial Br., pp.8-9). Thus, 18 levels should be added

 pursuant to U.S.S.G. § 2B1.1(b)(1)(J).




 (Santamaria). Each of the victim-investors also testified that they would not have invested in the
 loans if they had known the truth that Privinvest would use millions of dollars in loan proceeds
 to pay bribes and kickbacks to bankers and government officials. Tr. 982-93 (Leemhuis); Tr.
 1792 (Kaplan); Tr. 1174 (Santamaria). Leemhuis further explained that the truth of the bribes to
 Mozambican officials would have affected VTB’s decision to invest because “[i]t would have
 been potentially a criminal act for VTB and its employees.” Tr. 983. Likewise, Santamaria
 explained that he would not have invested in the EMATUM loan if he had known the truth
 because using his client’s money for government bribes “would reflect poorly on my firm and
 my clients.” Tr. 1193. Kaplan echoed that sentiment, testifying that the truth would have
 “taint[ed] the transaction” and he would not have invested in EMATUM if he had known the
 truth. Tr. 1802.
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                Second, the record proves beyond a preponderance of evidence that there were ten

 or more victims. As explained above, the government presented evidence that the victim-

 investors were institutional investors who were investing their clients’ money in the loan

 products. For example, the government proved that approximately 10 investors invested in

 Proindicus, including multiple funds controlled by U.S.-based investor ICE Canyon. (GX-2568-

 A). The government admitted proof that VTB Capital invested about $82 million for at least

 another seven U.S. based investors in EMATUM. (GX 3213-B.) The government also proved

 that Alliance Bernstein invested millions on behalf of approximately 20 clients, including at least

 four retirement/pension plans. (See GX 610.) Thus, the government has proven that this

 enhancement applies.

                Third, the record also supports the 2-level enhancement for sophisticated

 means/substantial fraud committed outside the United States. Under U.S.S.G. § 2B1.1(b)(10),

 the Court may apply a 2-level increase if “a substantial part of the fraudulent scheme was

 committed from outside the United States; or . . . the offense otherwise involved sophisticated

 means and the defendant intentionally engaged in or caused the conduct constituting the

 sophisticated means.” Both criteria provide an independent means for the Court to apply this

 enhancement. First, a substantial part of the fraud scheme occurred outside the United States. It

 is undisputed that the fraudulent conduct begun in Mozambique, London, and the UAE, and

 indeed, the jury was permitted to find venue based on 18 U.S.C. § 3238.

                Fourth, the government proved at trial that Chang and his co-conspirators

 conducted a sophisticated wire fraud scheme, separate and apart from the sophisticated money

 laundering operations in which the defendant engaged to conceal the criminal proceeds of that

 scheme. To conduct and conceal their loan fraud scheme, the defendant and his conspirators,
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 among other things, (1) devised three special purpose vehicles for the project entities to avoid

 debt limits; (2) took measures to conceal the debt from the IMF in violation of the countries’

 reporting requirements, including changing contractual language in the loan documents to reflect

 that Mozambique was in compliance with its IMF obligations (see GX 2186, 302), and

 restricting syndication of the MAM loan to avoid public disclosure of the debt (see Tr. 1010

 (Leemhuis indicating that Mozambique barred VTB Capital from selling the MAM loan for a

 year); Tr. 388 (Pearse testifying that he learned that the defendant did not want the MAM loan to

 be sold to outside investors to keep the loan “secret” and “and that the way to do that was to

 restrict syndication”)); (3) used complex global financial markets to fund the fraudulent loans

 and transfer the loan proceeds through the United States to bank accounts in other countries; and

 (4) used fraudulent loan documents to effectuate the fraudulent scheme. See United States v.

 Regensberg, 381 F. App’x 60, 62 (2d Cir. 2010) (“the record shows that Regensberg conducted a

 complex and sophisticated scheme, including the creation of fraudulent loan documents, detailed

 reporting of fake earnings, use of Ponzi scheme payments to lull his investors, and alteration of

 an account statement to make it appear as if he had not lost his investors’ money”); see also

 United States v. Jackson, 346 F.3d 22, 25 (2d Cir.2003) (“[E]ven if each step in the scheme was

 not elaborate, the total scheme was sophisticated in the way all the steps were linked

 together . . . .”); United States v. Lewis, 93 F.3d 1075, 1083 (2d Cir.1996) (holding, in tax case,

 that the sophisticated means enhancement applied even when “each step in the planned tax

 evasion was simple, [because] when viewed together, the steps comprised a plan more complex

 than merely filling out a false tax return.”); U.S.S.G. § 2B1.1 app. n.9(B) (“Conduct such as

 hiding assets or transactions, or both, through the use of fictitious entities, corporate shells, or

 offshore financial accounts also ordinarily indicates sophisticated means.”).
                                                    9
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                 Thus, as a starting point, the base offense level for the grouped convictions is a

 total of 29.

                 3.      The Sophisticated Laundering Enhancement Under U.S.S.G.
                         § 2S1.1(b)(2)(B) Applies

                 The defendant claims that the application of the 2-level enhancement for

 sophisticated laundering under U.S.S.G. § 2S1.1(b)(2)(B) should not apply. That argument is

 meritless.8 In determining whether this enhancement applies, Application Note 5 to § 2S1.1

 provides that “[s]ophisticated laundering typically involves the use of–(i) fictitious entities;

 (ii) shell corporations; (iii) two or more levels (i.e., layering) of transactions, transportation,

 transfers, or transmissions, involving criminally derived funds that were intended to appear

 legitimate; or (iv) offshore financial accounts.”

                 The government proved just that. At trial, the government proved that the

 defendant and his co-conspirators used Luis Rocha Brito’s Spanish and Swiss bank accounts to

 deposit, divert, and conceal the defendant’s bribe payments. The defendant instructed his co-

 conspirators to deposit his bribe payments into Brito’s foreign bank accounts. Bank records then

 show that Privinvest paid the bribe money in structured installments and that once deposited into

 Brito’s accounts, the money moved through multiple levels of transactions and transfers between

 different accounts belonging to Brito to further conceal the source and origin of the payments.




         8
           The defendant cites to United States v. Eckstein, No. CR 12-3182 (JB), 2016 WL
 546663, at *9 (D.N.M. Feb. 3, 2016) in support of his argument as to why the sophisticated
 laundering enhancement should not apply. But in Eckstein, the government conceded that the
 defendant did not create or provide shell entities as part of the money laundering scheme, and
 that it was the undercover employee who provided Eckstein with the names of apparently
 fictitious entities, which Eckstein paid with checks that his own legitimate companies issued.
 That is simply not the case here.
                                                  10
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 For example, bank records showed that a Privinvest subsidiary company wired a total of $5

 million (split into payments of $1.5 million, $1.5 million, and $2 million) to a Spanish bank

 account in the name of Thyse International Corporation (“Thyse”) held by Luis Rocha Brito.

 After the $5 million was wired to the Thyse bank account, additional payments totalling $5

 million (but split again into payments of $1.5 million, $1.5 million, and $2 million) were wired

 from that Thyse bank account to a second Thyse International bank account, and then to Luis

 Rocha Brito’s personal account. Shortly thereafter, a total of $5 million (split again into

 payments of $1.5 million, $1.5 million, and $2 million) was wired from Brito’s personal account

 to a bank account for “Genoa Asset SA” — a bank account that the defendant had previously

 provided to Boustani. Any argument that this is not sophisticated money laundering should be

 rejected.9




         9
           The Court may apply the sophisticated means and sophisticated laundering
 enhancements because the conduct that forms the basis for the sophisticated means enhancement
 is different than the conduct that forms the basis of the sophisticated laundering enhancement.
 See U.S.S.G. § 2S1.1, Application Note 5(B); see also United States v. Cabrera, 635 F. App’x
 801, 808–09 (11th Cir. 2015) (“The guidelines do not forbid applying the sophisticated means
 and sophisticated laundering enhancements together. Instead, they expressly contemplate that the
 enhancements may be applied cumulatively so long as the conduct that is the basis for applying
 the sophisticated laundering enhancement is not the only conduct that is the basis for applying
 the sophisticated means enhancement.”); Abreu v. United States, No. 09-CV-10276 (RPP), 2010
 WL 2483993, at *7 (S.D.N.Y. June 15, 2010) (“Sophisticated means and sophisticated
 laundering are two separate enhancements, independently authorized by the Guidelines, and
 whether the two enhancements are overlapping so as to justify a downward departure in the
 circumstances of a given defendant is a matter of discretion for the Court.”).

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                 4.      The Abuse of a Position of Trust Under U.S.S.G. § 3B1.3 Applies

                 As set forth in the government’s response to the defense objections, the

 government maintains that this enhancement applies, especially if the Court agrees that the fraud

 guidelines will be used to determine the base offense level.10

                 Chapter 3 “provides adjustments to the offense level based upon the role the

 defendant played in committing the offense” and “is to be made on the basis of all conduct

 within the scope of §1B1.3 (Relevant Conduct), i.e., all conduct included under §1B1.3(a)(1)–

 (4), and not solely on the basis of elements and acts cited in the count of conviction.”

 Section 3B1.3 specifically provides a 2-point enhancement if “the defendant abused a position of

 public or private trust, or used a special skill, in a manner that significantly facilitated the

 commission or concealment of the offense.”

                 In his submission and objections, the defendant argues that “there is no evidence

 that Minister Chang used his role as the Minister of Finance to facilitate money laundering or to

 facilitate wire fraud” and that the “alleged misstatements were not included in the documents that

 he signed and his role as the Minister of Finance was not used to facilitate misconduct.” Again,

 that argument completely ignores the facts of this case, the trial record, and the entire reason why

 the defendant was bribed in the first place. The defendant was, as his counsel made a point of

 saying, “Minister Chang” — a high-ranking, senior government official who had the authority to

 sign guarantees obligating his country to repay $2 billion in loans. Privinvest bribed the



         10
           While U.S.S.G. § 2C1.1 directs the parties not to apply this enhancement,
 U.S.S.G. § 2B1.1 does not have a similar limitation applicable here. Pursuant to the Guidelines,
 § 3B1.3 is inapplicable with respect to § 2B1.1(b)(8)(b), § 2B1.1(b)(9)(A), § 2B1.1(b)(13) and
 § 2B1.1(b)(20) — none of which are implicated here. See Application Notes, § 2B1.1,
 Application Note 7, 8, 11 and 16.
                                                 12
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 defendant for that very purpose, and the defendant knowingly accepted those bribes in exchange

 for signing the government guarantees. That undoubtedly constitutes an abuse of a position of

 trust under this section, and any arguments to the contrary are baseless.

                 5.     The Defendant Does Not Deserve a Minor or Minimal Reduction for His
                        Role

                 The defendant also argues that he deserves a reduction for playing a minimal or

 minor part in the scheme. That argument should also be rejected.

                 In determining whether to apply a reduction for the defendant’s role in the

 offense, the Guidelines direct the Court to consider the following non-exhaustive list of factors:

 (i) the degree to which the defendant understood the scope and structure of the criminal activity;

 (ii) the degree to which the defendant participated in planning or organizing the criminal activity;

 (iii) the degree to which the defendant exercised decision-making authority or influenced the

 exercise of decision-making authority; (iv) the nature and extent of the defendant’s participation

 in the commission of the criminal activity, including the acts the defendant performed and the

 responsibility and discretion the defendant had in performing those acts; and (v) the degree to

 which the defendant stood to benefit from the criminal activity. See U.S.S.G. § 3B1.1,

 Application Note 3(C).

                 In support of his argument that he deserves credit for his conduct, the defendant

 reiterates numerous arguments that he presented at trial, including that the projects were

 supported and approved by other Mozambican government officials, that there “was nothing

 inherently criminal about Mr. Chang signing the loan guarantees,” and that there was “no direct

 evidence he was induced to do so in exchange for receiving any illegal payments.” See Def. Obj.

 at pp. 12-13.

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                None of that is correct, or persuasive. While the defendant was not the one

 paying bribes, he was a central figure in the scheme. The defendant, as the Minister of Finance,

 was one of the highest ranking government employees in the Mozambican government, and he

 personally profited off of both his position and his country. The defendant then conspired to lie

 to international investors about accepting bribes so that the investors would lend his co-

 conspirators over $2 billion. And he did so knowing that the investors would be put at risk if

 they learned the truth — that Privinvest was paying millions of dollars in bribes to government

 officials, including him personally. He continued this conduct even though he knew that the

 investors would, in turn, market the loan products to other unknowing victims across the world.

                Moreover, at trial, the government proved that the defendant actively colluded

 with Jean Boustani and Antonio Do Rosario, and enjoyed all of the illicit benefits from that

 relationship. Boustani and Do Rosario flew the defendant on business and first-class trips to

 Paris, trips that coincided with Credit Suisse’s approval of the loans and payment of millions of

 dollars to Privinvest. (See GX 3236). The defendant met with Boustani in Paris, including at

 Iskander Safa’s estate in the south of France (see GX 2427; Tr. 143 (Pearse testifying regarding

 the Paris meeting)), and he even agreed to engage in a proposed corrupt business venture with

 Boustani, Do Rosario and other Mozambicans in which the defendant stood to earn $10-$15

 million in taxpayer money from this venture. (See GX 3301, GX 3301B, GX 2418.) And as the

 jury heard, the defendant received a shipment of over 1,000 bottles of rosé wine, red wine, honey

 and olive oil from Boustani around the time that the EMATUM deal was approved. (See GX

 2463, 2463-A.) None of this behavior warrants a minimal participant reduction.




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 III.   LEGAL STANDARD FOR SENTENCING

                A “district court should begin all sentencing proceedings by correctly calculating

 the applicable Guidelines range. As a matter of administration and to secure nationwide

 consistency, the Guidelines should be the starting point and the initial benchmark.” Gall v.

 United States, 552 U.S. 38, 49 (2007). Next, a sentencing court should “consider all of the

 § 3553(a) factors to determine whether they support the sentence requested by a party. In so

 doing, [it] may not presume that the Guidelines range is reasonable. [It] must make an

 individualized assessment based on the facts presented.” Id. at 50.

                Title 18, United States Code, Section 3553(a) provides that, in imposing sentence,

 the Court shall consider:

                (1)     the nature and circumstances of the offense and the history and
                        characteristics of the defendant;

                (2)     the need for the sentence imposed—

                        (A)     to reflect the seriousness of the offense, to promote respect for the
                                law, and to provide just punishment for the offense;

                        (B)     to afford adequate deterrence to criminal conduct; [and]

                        (C)     to protect the public from further crimes of the defendant.

 Section 3553 also addresses the need for the sentence imposed “to provide the defendant with

 needed educational or vocational training, medical care, or other correctional treatment in the

 most effective manner.” 18 U.S.C. § 3553(a)(2)(D). “[I]n determining whether to impose a term

 of imprisonment, and, if a term of imprisonment is to be imposed, in determining the length of

 the term, [the Court] shall consider the factors set forth in section 3553(a) to the extent that they

 are applicable, recognizing that imprisonment is not an appropriate means of promoting

 correction and rehabilitation.” 18 U.S.C. § 3582(a).

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                At sentencing, “the court is virtually unfettered with respect to the information it

 may consider.” United States v. Alexander, 860 F.2d 508, 513 (2d Cir. 1988). Indeed, “[n]o

 limitation shall be placed on the information concerning the background, character, and conduct

 of a person convicted of an offense which a court of the United States may receive and consider

 for the purpose of imposing an appropriate sentence.” 18 U.S.C. § 3661. Thus, the Court should

 first calculate the applicable Guidelines range, and then apply the Section 3553(a) factors to

 arrive at an appropriate sentence, considering all relevant facts.

        A.      A Substantial Term of Imprisonment Within the Guidelines Range Is Warranted

                For the reasons set forth below, the government believes that a significant

 sentence of incarceration that falls within the Guidelines range of 135-168 months’

 imprisonment is warranted here given the nature and seriousness of the defendant’s criminal

 offenses, the defendant’s history and characteristics and the need for general deterrence.

 See 18 U.S.C. § 3553(a). Such a sentence is sufficient, but not greater than necessary, to satisfy

 the goals of sentencing.

        A.      Nature and Circumstances of the Offense (18 U.S.C. § 3553(a)(1))

                First, the nature of and circumstances of the defendant’s participation in a

 $2 billion fraud counsels strongly in favor of a significant sentence of incarceration. The

 defendant knowingly participated in a brazen international fraud, money laundering and bribery

 scheme that caused one of the biggest debt and corruption scandals in Africa. Hundreds of

 millions of dollars were paid in bribes to government officials in Mozambique, including the

 defendant, so that Privinvest could obtain billions of dollars in loans. Although the loans were

 supposed to be used for projects that would benefit the Mozambican people, the opposite was

 true. By the end of 2017, tens of millions of those dollars had been diverted to Privinvest, the

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 defendant, and other co-conspirators for their personal gain. All three projects ultimately

 defaulted, putting the entire country of Mozambique in financial jeopardy because the defendant

 obligated it to repay the debt.

                As proven at trial and as laid out in the government’s post-trial motion, the

 defendant was a central player in this criminal scheme. The defendant was the Minister of

 Finance of Mozambique, and at one time, he was even the Governor for Mozambique on the

 IMF Board. (PSR, ¶ 82.) The defendant helped structured the projects and the loans to persuade

 Credit Suisse, VTB Capital, and their investors to lend money to Proindicus, EMATUM and

 MAM. He negotiated key terms with Credit Suisse and VTB Capital, and insisted on contractual

 language that only served to conceal the fraud further. For example, at trial, the government

 proved that he was the one who insisted on changing IMF language in the Proindicus project to

 reflect that Mozambique was in compliance with its IMF obligations, when in fact, it was not.

 The defendant also insisted on incorporating a one-year non-syndication language in the MAM

 loan contract so that the MAM loan would not be sold (and disclosed) to the public during this

 time. Critically, the defendant even signed government guarantees that promised investors that

 the country of Mozambique would repay the companies’ debt in the event that they defaulted, all

 the while knowing that Privinvest — the sole contractor on all three projects and the direct

 recipient of $2 billion in loans — had paid him $7 million in bribes.

                Although the defendant seeks to minimize his conduct, the trial evidence proves

 that the defendant acted knowingly and deliberately. He knowingly colluded with Boustani and

 Do Rosario, and reaped all the perks and benefits of that conspiratorial relationship — receiving

 luxury gifts, flying on all-paid business and first class trips to Paris. The trial evidence also

 proved that the defendant knew that his conduct was corrupt, and that he had no qualms about
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 using others, including his own family members, to cover his own tracks. He used his co-

 conspirators as intermediaries to pass along messages; used his associate’s bank accounts to

 launder his illicit proceeds; and even had his daughter fly to Lebanon to open bank accounts.

                The defendant makes no attempt to explain, let alone show contrition for, his

 actions. Instead, throughout his submissions, the defendant seek to minimize the complexity,

 scope and impact of both the criminal fraud scheme at issue in this case and his own conduct in

 furtherance of that scheme. He accuses other senior government officials and the Central Bank

 of Mozambique for approving the loans and for directing him to do so as well, and claims that

 Brito was the true recipient for the bribe money from Privinvest. See Def. Sentencing Br. 19-21

 (arguing that these projects were approved by various senior members of the Mozambican

 government; that he was “instructed to sign the government guarantees” at the direction of

 others; and that at most, he was only a “small ‘spoke’ in a ‘spoke and wheel’ conspiracy.”). The

 jury did not find any of these arguments credible, and neither should the Court.

                Moreover, the defendant makes little, if any, mention of the impact of the

 defaulted loans to the people of Mozambique and to victim-investors who were defrauded by the

 defendant and his co-conspirators. The amount of the Proindicus and EMATUM loans alone

 was roughly 9% of Mozambique’s GDP in 2013. (Tr. 1271.) As set forth above, at trial, the

 government proved that certain investor-victims (including those that invested for retirement and

 pension plans) lost millions of dollars in connection with these loans. Yet, the defendant

 continues to claim that there are no victims and that there are no losses. In short, the defendant’s

 attempts to ignore, minimize and distract from the true severity of his crimes and culpability

 should not be credited, and a substantial term of incarceration is appropriate.



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        B.      History and Characteristics of the Defendant (18 U.S.C. § 3553(a)(1))

                The defendant’s sentencing submission and the PSR describes certain aspects of

 his history and characteristics at length. The defendant’s history and characteristics are notable

 in many respects.

                It shows a defendant who grew up poor but had opportunities that his fellow

 Mozambicans — including his own siblings — did not have: an education, employment, and a

 long and storied career in public service. Indeed, as the PSR sets forth, the defendant began

 working for the country of Mozambique when he was only 19 years old, and over time, rose to

 the powerful position of Minister of Finance. (PSR, ¶ 81-82.) It shows a defendant who is

 intelligent, educated, and sophisticated. It shows a defendant who held impressive titles and

 positions at various parts of the government, including at the IMF and World Bank. (Id.) It also

 shows a defendant who has no history of abuse or neglect in the familial home, and who has the

 support of his family.

                All of these characteristics make the defendant’s crimes here even more stark and

 egregious. The defendant had every reason not to commit crimes, including his obligations as a

 public official. Yet, he chose to do so because of greed. He chose to accept millions of dollars

 in bribes, to lie to investors, and to conceal his criminal conduct. The defendant chose to expose

 his country and its people to enormous financial risk, even though he — as a former Governor

 for Mozambique on the IMF Board — fully knew how severe the financial and economic

 consequences would be to Mozambique if investors and the IMF learned the truth about the

 projects and the payment of bribes to government officials.

                Moreover, as discussed above, from the time he was arrested in December 2018

 to now, the defendant has expressed no remorse or acceptance of responsibility. Instead, despite
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 his former status as one of the highest-ranking officials in the Mozambican government, he seeks

 to cast blame on everyone else but himself. The defendant has not taken responsibility for his

 conduct, and a significant incarceratory sentence is warranted in this instance.

        C.      The Need for General Deterrence (18 U.S.C. § 3553(a)(1))

                The government agrees that the Court should consider the defendant’s age and

 physical condition as mitigating factors. However, the sentence imposed must also consider the

 need for deterrence of those who would consider engaging in similar conduct under similar

 circumstances. Given the strong economic incentives in preventing public corruption, it is

 critical that there be equally strong counterincentives. See United States v. Blech, 550 F. App’x

 70, 71 (2d Cir. 2014) (summary order) (“Blech was sentenced based on the 18 U.S.C. § 3553(a)

 factors, including the need for specific deterrence for a recidivist, and the need for general

 deterrence for those who might otherwise feel that some white-collar crimes are ‘game[s] worth

 playing.’”) (quoting United States v. Goffer, 721 F.3d 113, 132 (2d Cir. 2013)); S. Rep. No. 98-

 225, at 76 (1983), reprinted in 1984 U.S.C.C.A.N. 3182, 3259 (“The second purpose of

 sentencing is to deter others from committing the offense. This is particularly important in the

 area of white collar crime and government corruption. Major white collar criminals often are

 sentenced to small fines and little or no imprisonment. Unfortunately, this creates the impression

 that certain offenses are punishable only by a small fine that can be written off as a cost of doing

 business.”)). The government’s recommended sentence will send a strong deterrent message to

 those who, like the defendant, are public officials and seeking to engage in bribery and related

 conduct to enrich themselves, often at the expense — as was the case here — of ordinary people

 in the countries where such schemes are allowed to proliferate.



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                Furthermore, given that sophisticated bribery and money laundering schemes are

 incredibly difficult to detect and prosecute, there is greater need for general deterrence. See, e.g.,

 Harmelin v. Michigan, 501 U.S. 957, 988 (1991) (noting that “since deterrent effect depends not

 only upon the amount of the penalty but upon its certainty, crimes that are less grave but

 significantly more difficult to detect may warrant substantially higher penalties”). Because

 “economic and fraud-based crimes are more rational, cool and calculated than sudden crimes of

 passion or opportunity, these crimes are prime candidates for general deterrence.” See, e.g.,

 United States v. Martin, 455 F.3d 1227, 1240 (11th Cir. 2006) (quoting Stephanos Bibas, White-

 Collar Plea Bargaining and Sentencing After Booker, 47 Wm. & Mary L. Rev. 721, 724 (2005));

 United States v. Heffernan, 43 F.3d 1144, 1149 (7th Cir. 1994) (“Considerations of (general)

 deterrence argue for punishing more heavily those offenses that either are lucrative or are

 difficult to detect and punish, since both attributes go to increase the expected benefits of a crime

 and hence the punishment required to deter it.”); Drago Francesco, Roberto Galbiati & Pietro

 Vertova, The Deterrent Effects of Prison: Evidence From a Natural Experiment, 117 J. of

 Political Econ. 257, 278 (2009) (“Our findings provide credible evidence that a one-month

 increase in expected punishment lowers the probability of committing a crime. This corroborates

 the theory of general deterrence.”).

                The defendant’s arguments that he need not be sentenced to any additional prison

 time whatsoever because his incarceration and trial has been “highly publicized” should be

 rejected. (See Def. Sentencing Br., 41-42.) The defendant does not deserve a lower sentence

 because the fraudulent and money laundering scheme he engaged in was so egregious that it

 garnered global media attention. The reason the case has international visibility is due in large

 part to the staggering amount of the loans, the fact that high-ranking senior government officials
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 (including the defendant) and investment bankers had been bribed as part of the scheme to obtain

 the loans, and the significant collateral consequences the scheme had on Mozambique and

 investors around the world. If anything, the defendant’s argument would lead to perverse results

 — that the more damage a crime has inflicted and the international attention a case has, the more

 credit a defendant should receive at sentencing. This approach would lead to similarly short or

 non-existent custodial sentences in all corruption cases, regardless of their size, scope, or

 complexity, which would frustrate proportionality, a paramount goal of sentencing. See United

 States v. Booker, 543 U.S. 220, 264 (2005).

                For these reasons, a Guidelines sentence is necessary here to achieve the

 sentencing goal of general deterrence.

 IV.    THE DEFENDANT’S ADDITIONAL ARGUMENTS FOR A TIME SERVED
        SENTENCE SHOULD BE REJECTED

                The defendant raises a number of additional arguments in support of his request

 for a sentence of time served, i.e., an effective sentence of approximately 70 months and 22 days

 as of the date of sentencing, including: (1) the need to avoid sentencing disparities between the

 defendant and other similarly situated defendants, (2) the prison conditions in South Africa and

 at the MDC and its effect on the defendant’s physical and emotional well-being, (3) the collateral

 consequences of a conviction on a non-U.S. citizen, and (4) his time spent in foreign custody

 awaiting extradition. None of these arguments supports his extraordinary request of reducing his

 sentence to time served.

        A.      There Are No Unwarranted Sentencing Disparities

                First, the defendant raises a litany of arguments claiming that he deserves a time-

 served sentence because (1) the defendant’s co-conspirator Jean Boustani received no sentence;


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 and (2) the government’s cooperating witness Detelina Subeva received no incarceration as part

 of her sentence. (Def. Sentencing Br., at 44-47.) These arguments should be rejected.

                As an initial matter, a Guidelines sentence for the defendant would not result in

 unwanted disparities between the defendant and other similarly-situated individuals. Recently,

 in United States v. Ng Chong Hwa, 18-CR-538 (MKB), Judge Brodie imposed a ten-year

 sentence on the defendant, a sophisticated investment banker at Goldman Sachs who played a

 critical role in a massive bribery and money laundering scheme that stole billions of dollars

 intended for infrastructure and economic projects to aid the Malaysian people. Ng profited off of

 the stolen proceeds and used millions of dollars and pay bribes to at least a dozen corrupt

 government officials in Malysia and Abu Dhabi. Although the defendant in Ng personally

 received over $35 million in illicit payments, unlike the defendant here, Ng was not a senior-

 ranking public official who had a responsibility to serve his country and not take bribes

 consistent with the duties of his office.

                Moreover, although there is no perfect comparison, courts across the country have

 also imposed sentences on similarly situated defendants that demonstrate that the defendant’s

 requested sentence here is wildly disproportionate given his conduct. For example, within the

 Second Circuit:

               United States v. Napout, No. 15-CR-252 (PKC) (E.D.N.Y.) (the defendant, who
                was the former president of CONMEBOL, a FIFA Vice President, and a member
                of the FIFA Executive Committee, was sentenced to 108 months’ imprisonment
                after being convicted at trial for receiving over $3 million in bribes and agreeing
                to receive more than $20 million more in connection with a scheme involving the
                sale of marketing and media rights for various soccer tournaments);

               United States v. Marin, No. 15-CR-252 (PKC) (E.D.N.Y.) (defendant, the former
                Brazilian soccer federation president, sentenced to 48 months’ imprisonment after
                being convicted at trial for receiving over $3 million in bribes and agreeing to

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                receive approximately $10 million more in connection with a scheme involving
                the sale of marketing and media rights for various soccer tournaments);

               United States v. Thiam, No. 14-CR-47 (DLC) (S.D.N.Y.) (former Minister of
                Mines and Geology of the Republic of Guinea sentenced to 84 months’
                imprisonment and there years of supervised release after being convicted at trial
                for receiving and laundering approximately $8.5 million in bribes from a Chinese
                conglomerate in connection with the awarding of investment rights in the
                Republic of Guinea);

               United States v. Portillo, No. 09-CR-1142 (RPP) (S.D.N.Y.) (defendant sentenced
                to 70 months’ imprisonment after pleading guilty to receiving $2.5 million in
                bribery payments from the government of Taiwan while he was serving as
                president of Guatemala);

               United States v. Ng Lap Seng, No. 15-CR-706 (VSB) (S.D.N.Y.) (defendant
                sentenced to 48 months’ imprisonment after being convicted at trial for paying
                over $1 million in bribes to two senior United Nations ambassadors); and

               United States v. Chinea, United States v. DeMeneses, No. 14-CR-240 (DLC)
                (S.D.N.Y.) (defendants sentenced to 48 months’ imprisonment after pleading
                guilty to arranging bribe payments to a Venezuelan state-owned bank in exchange
                for that bank directing its trading business to the defendants’ company, which
                earned Chinea and DeMeneses approximately $3.6 million and $2.7 million,
                respectively, in commissions and/or bonuses).

                Sentences imposed outside of the Second Circuit also demonstrate that a time-

 served sentence would create significant disparities with similarly situated defendants, and does

 not accord with the purposes of Section 3553(a)(6):

               United States v. Carlos Polit, No. 22-CR-20114 (KW) (S.D. Fla.) (defendant,
                former Comptroller General of Ecuador, sentenced to 10 years’ imprisonment
                after being convicted at trial of money laundering offenses relating to his receipt
                of over $16 million in bribes);

               United States v. Claudia Diaz and Jose Velasquez, No. 18-CR-80160 (WPD)
                (S.D. Fla.) (defendant Diaz (former National Treasurer of Venezuela) and
                Velasquez (her husband) originally sentenced to 15 years’ imprisonment (later
                reduced to 12 years on re-sentencing after passage of the two-point Guidelines
                reduction for no prior criminal history) for receiving over $136 million in bribes);

               United States v. Esquenazi, United States v. Duperval, United States v.
                Rodriguez, No. 09-CR-21010 (JEM) (S.D. Fla.) (defendants sentenced to
                15 years’, 9 years’ and 7 years’ imprisonment, respectively, after being convicted
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                at trial for conspiring to pay approximately $2.2 million in bribes to a Haitian-run
                telecommunications company);

               United State v. Jefferson, No. 07-CR-209 (TSE) (E.D. Va.) (defendant, a U.S.
                Representative, sentenced to 13 years’ imprisonment after being convicted at trial
                for receiving approximately $500,000 in bribe payments in exchange for using his
                position to promote deals in Nigeria, Ghana, Equatorial Guinea, Botswana and the
                Democratic Republic of the Congo);

               United States v. Harder, No. 15-CR-1 (PD) (E.D. Pa.) (defendant sentenced to
                60 months’ imprisonment after pleading guilty to paying approximately
                $3.5 million in bribes to corruptly influence a foreign official’s actions regarding
                energy project approvals);

               United States v. Reyes, No. 17-CR-20747 (KMW) (S.D. Fla.) (defendant
                sentenced to 53 months’ imprisonment after pleading guilty to receiving
                $2.1 million in bribes in connection with a bribery scheme to provide illicit
                payments to officials from Ecuador’s state-run oil company);

               United States v. Domenech, No. 20-CR-20179 (DPG) (S.D. Fla.) (defendant
                sentenced to 51 months’ imprisonment after pleading guilty to using his official
                position as an advisor to the president of Ecuador to award insurance contracts
                and obtain more than $2 million in bribes);

               United States v. Chacin Haddad, United States v. Veroes, No. 19-CR-20351
                (CMA) (S.D. Fla.) (defendants each sentenced to 51 months’ imprisonment after
                pleading guilty to conspiring to pay bribes to secure contracts for a state-owned
                electricity company and for which each defendant personally benefitted
                approximately $5.5 million); and

               United States v. Lambert, No. 18-CR-12 (TDC) (D. Md.) (defendant sentenced to
                48 months’ imprisonment after being convicted at trial for conspiring to authorize
                $1.5 million in corrupt bribe payments that provided over $11 million in benefits
                to the defendant’s company).

                Here, the sentences received by defendants convicted of similar crimes

 demonstrate that the defendant’s request is not appropriate.

                Second, the defendant argues that it is unfair to subject him to further

 incarceration when Jean Boustani “received no sentence.” There is no parallel to Boustani.

 Boustani was acquitted at trial, whereas the defendant was convicted of all of the charges against


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 him. There is also no evidence to suggest that if Boustani had been convicted and sentenced, he

 would have faced a lesser guidelines range than the defendant.

                Third, the defendant should not be permitted to gain credit by comparing his

 sentencing to that of Detelina Subeva’s. Subeva is a cooperating witness, who accepted

 responsibility for her conduct and agreed to cooperate with the government almost immediately

 after her arrest. In contrast, the defendant fought extradition for years, proceeded to trial, and has

 not accepted any responsibility whatsoever for his crimes. In short, Subeva’s sentence does not

 pose any unwanted disparity here because she is not similarly situated to the defendant. The

 defendant should not benefit from someone else’s cooperation.

        B.      The Defendant’s Pre-Trial Detention Does Not Merit a Time Served Sentence

                In his sentencing memorandum, the defendant discusses at length the conditions

 of his incarceration in South Africa between his arrest on December 29, 2018, his extradition to

 the United States on July 12, 2023 and subsequent detention, and the alleged effects of those

 conditions on his physical and mental health. (Def. Sentencing Br., 31-39). He argues that that

 experience and its impact on him warrant a sentence of time served. Of course, the Court can —

 and indeed, should — consider the circumstances of the defendant’s pre-trial detention. But that

 is not all that the Court must consider, and for multiple reasons, the defendant’s claim that he has

 been sufficiently punished for the time he spent in pre-trial detention should be rejected.

                First, as set forth in the government’s response to the defense objections, the

 government understands that the Federal Bureau of Prisons (“BOP”) will ordinarily apply a

 credit towards the defendant’s U.S. sentence for the time he served in South Africa awaiting

 extradition. The operable statute is 18 U.S.C. § 3585(b), titled “Calculation of a term of

 imprisonment,” which states that a defendant “shall be given credit toward the service of a term
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 of imprisonment for any time he has spent in official detention prior to the date the sentence

 commences (1) as a result of the offense for which the sentence was imposed.” The Supreme

 Court has also held that the Bureau of Prisons is “the agency charged with administering the

 credit statute,” Reno v. Koray, 515 U.S. 50, 60 (1995), and that § 3585(b) does not authorize a

 district court to award such credit at sentencing, see United States v. Wilson, 503 U.S. 329, 333-

 335 (1992) (“Congress has indicated that computation of the credit must occur after the

 defendant begins his sentence. A district court, therefore, cannot apply § 3585(b) at

 sentencing.”).

                  Thus, in circumstances such as those here, a defendant “shall be” credited for any

 time spent in detention on the charges for which he or she is sentenced. Consequently — other

 than taking into account the conditions of the defendant’s prior confinement, and any resulting

 effects on him — the Court should issue its sentence in this case as it would in any other case.

 To do otherwise would be to improperly double-count that time: for example, if the Court would

 otherwise have sentenced the defendant to 180 months’ imprisonment but took the defendant’s

 pre-trial detention into account to impose a lesser sentence, the BOP would still credit the

 defendant for the time he served in South Africa, and further reduce the defendant’s sentence.

                  Second, the defendant’s pre-trial detention does not support such an extraordinary

 departure from the applicable guidelines of 135-168 months’ imprisonment to time-served. The

 defendant was arrested in December 2018, but fought extradition to the United States for

 approximately 4.5 years.11 After the defendant was extradited to the United States, he was



        11
           The defendant claims, at various times, that “had Minister Chang been tried, convicted
 and sentenced, closer to the time of his arrest, today, he would be eligible for compassionate
 release.” (Def. Sentencing Br., at 39-40.) Certainly, the defendant could have waived
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 detained at the MDC. Although the defendant cites the harsh conditions at the MDC, and




                                                          Thus, the record does not support the

 conclusion that the defendant should not serve any additional time incarcerated.12

        C.      The Defendant’s Non-U.S. Citizenship Does Not Merit a Time-Served Sentence

                The defendant also urges the Court to give him a time-served sentence based on

 his assertion that he would not be eligible for certain release options, or for certain other sentence

 reductions due to his status as a non-citizen. (Def. Sentencing Mem. at 38).13 As an initial

 matter, many foreign national non-resident defendants are subject to the exact same factors, yet

 routinely receive substantial sentences.

                Moreover, the Second Circuit has repeatedly rejected the same argument in the

 context of a downward departure for reasons that apply with equal force to the defendant’s

 request for time served. In United States v. Restrepo, 999 F.2d 640 (2d Cir. 1993), the Second




 extradition at the time of his arrest, and agreed to be brought to the United States for prosecution.
 But the defendant did not do so, and as such, the government had to undertake the formal
 extradition process. The defendant cannot now blame the U.S. government for his pre-trial
 detention in South Africa to seek credit for his sentencing.
        12
           The government respectfully seeks leave to file this memorandum under seal with a
 publicly-filed version redacting the portion addressing the defendant’s health.
        13
          The defendant also argues, at various points, that had he been sentenced to 71 months,
 he would be eligible for early release or good time credit. (Def. Sentencing Mem., at 35-36.)
 That, however, presupposes the Court’s sentence. Moreover, when the defendant is actually
 sentenced, the BOP will calculate whether he is eligible for such credit.
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 Circuit held that, although there may be rare circumstances when alienage can be considered in

 sentencing a defendant, a district court may not consider “(1) the unavailability of preferred

 conditions of confinement [or] (2) the possibility of an additional period of detention pending

 deportation following the completion of sentence.” Id. at 644.

                With respect to the issue of whether the defendant could be designated to a

 “camp,” the Second Circuit has stated:

                Even if it were a steadfast policy of the B[OP] to deny reassignment
                to relaxed-security facilities to alien prisoners who must be deported
                on account of their convictions, we would consider that policy an
                inappropriate basis for departure from the imprisonment range
                prescribed by the Guidelines. Assuming that § 3624(c) was
                intended to apply to deportable aliens, the statute does not on its face
                require the B[OP] to ensure that all prisoners participate in such a
                program, but only to do so if practicable. For example, the B[OP]
                need not reassign the prisoner to a halfway house if there is no such
                unit in his home state, and the absence of such a facility has been
                held to be an impermissible ground for departure from the
                Guidelines.

 Id. at 645. The Second Circuit concluded that, “if there is a defect in the B[OP]’s policy toward

 reassignment of deportable aliens, the appropriate way to remedy that defect would be pursuit of

 an action that challenges such a policy head-on, not the ad hoc granting of departures that have

 the effect of creating the very type of disparity in sentencing that the adoption of the Guidelines

 was intended to eliminate.” Id. at 646.

                In any event, courts — principally in other circuits — that have permitted

 departures based on alienage have done so where, unlike in this case, “the conditions in question

 are ‘substantially more onerous than the framers of the guidelines contemplated in fixing the

 punishment range for the defendant’s offense [ . . . ,] and the differences in the conditions of

 confinement or other incidents of punishment between deportable aliens and other citizen (or

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 nondeportable alien) defendants . . . are not great.’” United States v. Mohammed, 315 F. Supp.

 2d 354, 367 (S.D.N.Y. 2003) (quoting United States v. Guzman, 236 F.3d 830, 834 (7th Cir.

 2001)) (alterations in original). The court in Mohammed, in rejecting a departure, found that

 “[i]neligibility for half-way houses or minimum security institutions, the only consequences

 Mohammed relies upon, are not such extraordinary deprivations as to warrant a finding that the

 Commission did not take into account the chance that someone in this sentencing range would be

 subjected to them.” Id.

                 The Second Circuit has reaffirmed its holding in Restrepo in the post-Booker

 advisory Sentencing Guidelines regime. See United States v. Duque, 256 F. App’x 436, 437-38

 (2d Cir. 2007) (citing Restrepo for the proposition that “‘(1) the unavailability of preferred

 conditions of confinement, [and] (2) the possibility of an additional period of detention pending

 deportation following the completion of sentence,’ generally do not justify a departure from the

 Sentencing Guidelines range”); see also United States v. Wills, 476 F.3d 103, 107 (2d Cir. 2007)

 (“Now, after Booker, we reaffirm the reasoning of Restrepo and apply it to Wills’s non-

 Guidelines sentence, which was partly based on the purported ‘additional punishment’ of

 deportation.”); Rosario v. United States, 625 F. Supp. 2d 123, 130 (S.D.N.Y. 2008) (declining to

 exercise discretion afforded by Kimbrough v. United States, 552 U.S. 85 (2007), and holding

 “[i]n light of the legal authority in this Circuit, therefore, Petitioner’s ineligibility for certain

 correctional programs due to his alien status, while unfortunate, is not an adequate basis for a

 downward departure of his sentence”). And again, even if this Court were to consider, or even

 fully credit, the defendant’s argument, it does not warrant the extraordinary sentence that he

 seeks.



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 V.     OTHER MONETARY PENALTIES

                Lastly, the government respectfully submits that forfeiture is mandatory on the

 offenses of conviction and should be ordered in the amount of $7 million. With respect to

 restitution, the government has not received any restitution requests from the known victims to

 date but is following up and at least one victim has indicated that it may want to file a claim.

 Lastly, Probation has indicated that the defendant appears unable to pay a fine (PSR, ¶ 87), and

 the government defers to Probation’s assessment.

        A.      The Court Should Impose Forfeiture of $7,000,000

                As a result of the defendant’s convictions of 18 U.S.C. §§ 1349 and 1956(h), the

 defendant is liable to forfeit: (a) any property, real or personal, constituting, or derived from,

 proceeds obtained directly or indirectly as a result of the defendant’s violation of 18 U.S.C.

 § 1349; (b) any property, real or personal, involved in the defendant’s violation of 18 U.S.C.

 § 1956(h), or any property traceable to such property; and/or (c) a substitute assets, pursuant to

 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b)(1). Forfeiture is mandatory for the

 aforementioned counts of conviction. Pursuant to Title 28, United States Code, Section 2461(c),

 if a defendant is convicted of an offense giving rise to forfeiture, the court shall order the

 forfeiture of the property as part of the sentence.

                Thus, the government respectfully requests that the Court order forfeiture in the

 amount of $7,000,000, which constitute the defendant’s ill-gotten gains from the scheme.

                1.      Legal Standard

                Rule 32.2(b)(1)(A) of the Federal Rules of Criminal Procedure provides that if the

 government seeks a personal money judgment, the court must determine the amount of money

 that the defendant will be ordered to pay. See Fed. R. Crim. P. 32.2(b)(1)(A). Courts in the

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 Second Circuit have routinely imposed forfeiture money judgments pursuant to 18 U.S.C.

 §§ 981(a)(1)(C) and 982(a)(1). See, e.g., United States v. Marsh, Nos. 10-CR-0480, 10-CR-

 0697, 10-CR-0700, 10-CR-0800, 10-CR-801, 2011 WL 5325410 (E.D.N.Y. Oct. 26, 2011)

 (Weinstein, J.); United States v. Dipascali, No. 09-CR-764, 2010 WL 9002774 (S.D.N.Y. June

 18, 2010); United States v. Capoccia, No. 03-CR-35, 2009 WL 2601426 (D. Vt. Aug. 19, 2009),

 aff’d, 402 Fed. Appx. 639 (2d Cir. 2010). Any unpaid amount that remains outstanding may be

 reduced to an in personam forfeiture money judgment. United States v. Awad, 598 F.3d 76, 78

 (2d Cir. 2010) (“[W]hen a defendant lacks the assets to satisfy the forfeiture order at the time of

 sentencing, the money judgment [against the defendant] is effectively an in personam judgment

 in the amount of the forfeiture order . . .”); United States v. Kalish, 626 F.3d 165, 168-69 (2d Cir.

 2010) (same); United States v. Roberts, 696 F. Supp. 2d 263, 268 (E.D.N.Y. 2010) (Irizarry, J.)

 (same), aff’d and forfeiture order vacated on other grounds, 660 F.3d 149, 168 (2d Cir. 2011).

                Further, Rule 32.2(b)(1)(B) provides that the Court’s determination may be based

 on evidence already in the record, and on any additional evidence or information submitted by

 the parties and accepted by the court as relevant and reliable. See United States v. Capoccia, 503

 F.3d 103,109 (2d Cir. 2007); United States v. Roberts, 660 F.3d 149, 166 (2d Cir. 2011)

 (“district courts may use general points of reference as a starting point for a forfeiture calculation

 and ‘make reasonable extrapolations’ supported by a preponderance of the evidence”).

                In contrast to the guilt phase of the criminal trial, the government bears the burden

 of establishing the amount of money subject to forfeiture only by a preponderance of the

 evidence. See Capoccia, 503 F.3d at 116; United States v. Bellomo, 176 F.3d 580, 595 (2d Cir.

 1999) (upholding trial court’s application of preponderance standard on grounds that criminal

 forfeiture is part of sentencing). The government is not required to provide a precise calculation
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 of the amount of money a defendant must forfeit. See United States v. Treacy, 639 F.3d 32, 48

 (2d Cir. 2011). Instead, the money judgment amount can be reasonably estimated based upon

 the available information. Id. Sentencing courts may consider trial evidence, hearsay, as well as

 “evidence or information submitted by the parties and accepted by the court as relevant and

 reliable,” in determining forfeiture. Fed. R. Crim. P. 32.2(b)(1)(B); Capoccia, 503 F.3d at 109-10

 (citing United States v. Gaskin, 364 F.3d 438, 462-63 (2d Cir. 2004)).

                Notably, criminal forfeiture “serves no remedial purpose, [and] is designed to

 punish the offender . . . .” United States v. Contorinis, 692 F.3d at 146. Furthermore, criminal

 forfeiture is mandatory, and a creature of statute. See United States v. Monsanto, 491 U.S. 600,

 607 (1989) (“Congress could not have chosen stronger words to express its intent that forfeiture

 be mandatory” in cases where the relevant forfeiture statute provides that the court “shall order”

 forfeiture). It is well-settled in the Second Circuit that forfeiture is a mandatory obligation of a

 defendant at sentencing that is entirely separate from restitution, which is also mandatory.

 United States v. Kalish, 626 F.3d 165, 169 (2d Cir. 2010) (There is “no infirmity in the District

 Court’s imposition of both a forfeiture remedy and a restitution remedy. These remedies are

 authorized by separate statutes, and their simultaneous imposition offends no constitutional

 provision.”); see also United States v. Bengis, 631 F.3d 33, 41 (2d Cir. 2011) (same) (quoting

 Kalish). Accordingly, the court should impose forfeiture as part of the defendant’s sentence,

 separate and apart from any restitution that is awarded to victims.

                2.      Evidentiary Basis for the Government’s Proposed Order of Forfeiture

                The evidence at trial, detailed above, established that the defendant illegally

 obtained at least $7,000,000 from his involvement in the scheme. Thus, the defendant is liable to

 forfeit $7,000,000 to the United States as a result of his commission of the crimes of conviction.
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 As a result, the government has submitted a proposed Order of Forfeiture pursuant to Rule 32.2

 of the Federal Rules of Criminal Procedure, which provides for the entry of a forfeiture money

 judgment in the amount of $7,000,000 ($7,000,000).

        B.      Restitution

                As per the PSR, restitution is mandatory pursuant to 18 U.S.C. § 3663A; U.S.S.G.

 § 5E1.1(a)(1). The government has conferred with certain victims, and has provided the list of

 contact information for known victims to the Probation Department. However, as set forth

 above, to date, the government has not received affidavit of losses from known victims. The

 government is following up with victims to confirm whether any of them will make a restitution

 claim and at least one victim has indicated that it may want to file a claim.

                                          CONCLUSION

                For the foregoing reasons, the government respectfully submits that the Court

 should sentence the defendant to a Guidelines sentence within the range of 135-168 months’




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 imprisonment, which is sufficient, but not greater than necessary, to advance the goals of

 sentencing.

 Dated: Brooklyn, New York
        November 13, 2024

                                                      Respectfully submitted,

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